                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION


                                                         Action No: 7:18CV170,
  Doe(s)                                                 7:18CV320, 7:18CV492, 7:18CV523
                                                         Date: 4/12/2019
  vs.
                                                         Judge: Elizabeth K. Dillon
  Virginia Polytechnic Institute and State University, Court Reporter: J. Webb
  et al
                                                       Deputy Clerk: B. Davis



  Plaintiff Attorneys                             Defendant Attorneys
  Jesse R. Binanall                               Katherine Londos
  Philip A. Byler                                 Nathan Schnetzler
  Tara Davis
  Lindsay R. McKasson

 PROCEEDINGS:
 Hearing held on 7:18CV170, Defendants’ [34] Motion to Dismiss for Failure to State a Claim,
 Motion to Dismiss for Lack of Jurisdiction, and Plaintiff’s [55] Motion to Amend Complaint;
 7:18CV320, Defendants’ [34] Motion to Dismiss for Failure to State a Claim, Motion to Dismiss
 for Lack of Jurisdiction and Plaintiff’s [54] Motion for Leave to File Amended Complaint;
 7:18CV492, Plaintiff’s [7] Motion for Leave to Proceed Under Pseudonym, Defendant Anthony
 Scott’s [16] Motion to Dismiss for Failure to State a Claim and Lack of Subject Matter
 Jurisdiction, Defendants’ [18] Motion to Dismiss for Lack of Jurisdiction, Defendants’ [21]
 Motion to Dismiss for Failure to State a Claim, Defendant Katie Bylenga’s [25] Motion to
 Dismiss Pursuant to Rule 12(b)(5), Plaintiff’s [39] Motion for Leave to File Amended
 Complaint; 7:18CV523, Plaintiff’s [7] Motion for Leave to Proceed Under Pseudonym,
 Defendants’ [15] Motion to Dismiss for Lack of Jurisdiction, Defendants’ [18] Motion to
 Dismiss for Failure to State a Claim, Plaintiff’s [31] Motion for Leave to File Amended
 Complaint.
 The Court grants 7:18CV492, Plaintiff’s [7] Motion for Leave to Proceed Under Pseudonym and
 7:18CV523, Plaintiff’s [7] Motion for Leave to Proceed Under Pseudonym by agreement of
 Counsel. The Court grants 7:18CV492, Defendant Anthony Scott’s [16] Motion to Dismiss for
 Failure to State a Claim and Lack of Subject Matter Jurisdiction by agreement of counsel and he
 is hereby dismissed from all counts. The court dismisses with prejudice the negligence claims
 in each case by agreement of counsel. The Court grants the dismissal as to the breach of
 contract claims without prejudice, and, by agreement, the Title IX claims against all defendant
 except Virginia Polytechnic Institute and State University. Defense Counsel notes Ms. Bylenga
 withdraws her [25] Motion to Dismiss Pursuant to Rule 12(b)(5), and her counsel agrees to
 accept service on her behalf. The Court rules the motion is withdrawn.
 Arguments from Counsel on 7:18CV170, Defendants’ [34] Motion to Dismiss for Failure to


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 State a Claim, Motion to Dismiss for Lack of Jurisdiction; 7:18CV320, Defendants’ [34] Motion
 to Dismiss for Failure to State a Claim, Motion to Dismiss for Lack of Jurisdiction; 7:18CV492,
 Defendants’ [18] Motion to Dismiss for Lack of Jurisdiction, Defendants’ [21] Motion to
 Dismiss for Failure to State a Claim; 7:18CV523, Defendants’ [15] Motion to Dismiss for Lack
 of Jurisdiction, and Defendant’s [18] Motion to Dismiss for Failure to State a Claim.
 Arguments from Counsel on 7:18CV170, Plaintiff’s [55] Motion to Amend Complaint;
 7:18CV320, Plaintiff’s [54] Motion for Leave to File Amended Complaint; 7:18CV492,
 Plaintiff’s [39] Motion for Leave to File Amended Complaint; 7:18CV523, Plaintiff’s [31]
 Motion for Leave to File Amended Complaint.
 The Court takes 7:18CV170, Defendants’ [34] Motion to Dismiss for Failure to State a Claim,
 Motion to Dismiss for Lack of Jurisdiction; 7:18CV320, Defendants’ [34] Motion to Dismiss for
 Failure to State a Claim, Motion to Dismiss for Lack of Jurisdiction; 7:18CV492, Defendants’
 [18] Motion to Dismiss for Lack of Jurisdiction, Defendants’ [21] Motion to Dismiss for Failure
 to State a Claim; 7:18CV523, Defendants’ [15] Motion to Dismiss for Lack of Jurisdiction, and
 Defendant’s [18] Motion to Dismiss for Failure to State a Claim; 7:18CV170, Plaintiff’s [55]
 Motion to Amend Complaint; 7:18CV320, Plaintiff’s [54] Motion for Leave to File Amended
 Complaint; 7:18CV492, Plaintiff’s [39] Motion for Leave to File Amended Complaint;
 7:18CV523, Plaintiff’s [31] Motion for Leave to File Amended Complaint under advisement.


 Time in Court: 8:59a – 10:49a, 10:57a – 11:34a (2 hours 30 min)




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